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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION


      MAURICE MARCELL                     :
      CARTER,
                                          :
             Petitioner,
                                          :
      vs.                                     CIVIL ACTION NO. 08-0380-CG-C
                                          :
      UNITED STATES OF                        CRIMINAL ACTION NO. 07-0046-CG
      AMERICA,                            :

             Respondent.


                       REPORT AND RECOMMENDATION

             Petitioner, Maurice Marcell Carter, a federal prison inmate proceeding

      pro se, has filed a motion to vacate, set aside or correct his sentence pursuant

      to 28 U.S.C. § 2255 (Doc. 168). This action has been referred to the

      undersigned for entry of a report and recommendation pursuant to 28 U.S.C.

      § 636(b)(1)(B). It is recommended that Carter’s § 2255 motion be denied.

                                 FINDINGS OF FACT

             1.     On February 22, 2007, Carter was charged by indictment with

      one count of conspiracy to possess with intent to distribute crack cocaine in

      violation of 21 U.S.C. § 846 and seven counts of possession with intent to

      distribute crack cocaine in violation of 21 U.S.C. § 841(a)(1). (Doc. 1) By
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      superseding indictment, Carter, along with others, was named in a twelve (12)

      count indictment; Count One charged Carter with intent to distribute crack

      cocaine in violation of 21 U.S.C. § 846 and Counts Two through Twelve

      charged him with possession with intent to distribute crack cocaine in violation

      of 21 U.S.C. § 841(a)(1). (Doc. 12)

             2.     On April 5, 2007, Carter, through his attorney, filed notice of his

      intent to plead guilty to Count One of the superseding indictment charging a

      violation of 21 U.S.C. § 846. (Doc. 21)

             3.     On April 18, 2007, the parties filed a plea agreement and factual

      resume with the Court. (Docs. 38 & 39) One day later, an amended plea

      agreement was filed in open court by the parties, same being signed by the

      defendant and his attorney, as well as the Assistant United States Attorney.

      (See Doc. 40) The plea agreement, as amended, reads, in relevant part, as

      follows:

                                 PLEA AGREEMENT

                    The defendant MAURICE MARCELL CARTER,
             represented by his counsel, and the United States of America
             have reached a Plea Agreement in this case, pursuant to Rule 11
             of the Federal Rules of Criminal Procedure, the terms and
             conditions of which are as follows:

                           RIGHTS OF THE DEFENDANT



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                  1.      The defendant understands his/her rights as
            follows:

                          a.       To be represented by an attorney;

                          b.       To plead not guilty;

                          c.       To have a trial by an impartial jury;

                         d.     To confront and cross-examine witnesses
            and to call witnesses and produce other evidence in his/her
            defense;

                          e.       To not be compelled to incriminate
            himself/herself.

                WAIVER OF RIGHTS AND PLEA OF GUILTY

                    2.      The defendant waives rights b through e, listed
            above, and pleads guilty to each of Count One of the
            Superseding Indictment. Count One charges a violation of Title
            21 United States Code, Section 846, conspiracy to possess with
            intent to distribute crack cocaine.

                                          .        .      .

                   4.     The defendant expects the Court to rely upon
            his/her statements here and his/her response to any questions
            that he/she may be asked during the guilty plea hearing.

                   5.     The defendant is not under the influence of
            alcohol, drugs, or narcotics. He/She is certain that he/she is in
            full possession of his/her senses and mentally competent to
            understand this Plea Agreement and the guilty plea hearing
            which will follow.

                  6.      The defendant has had the benefit of legal counsel
            in negotiating this Plea Agreement. He/She has discussed the


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            facts of the case with his/her attorney, and his/her attorney has
            explained to the defendant the essential legal elements of the
            criminal charge(s) which has/have been brought against him/her.
            The defendant’s attorney has also explained to the defendant
            his/her understanding of the United States’ evidence.

                   7.    The defendant understands that the United States
            has the burden of proving each of the legal elements of the
            criminal charge(s) beyond a reasonable doubt. The defendant
            and his/her counsel have discussed possible defenses to the
            charge(s). The defendant believes that his/her attorney has
            represented him/her faithfully, skillfully, and diligently, and
            he/she is completely satisfied with the legal advice of his/her
            attorney.

                    8.    A separate document, entitled Factual Resume,
            will be submitted to the Court as evidence at the guilty plea
            hearing. The Factual Resume is incorporated by reference into
            this Plea Agreement. The defendant and the United States agree
            that the Factual Resume is true and correct.

                   9.      This plea of guilty is freely and voluntarily made
            and is not the result of force, threats, promises, or
            representations apart from those set forth in this Plea
            Agreement. There have been no promises from anyone as to the
            particular sentence that the Court may impose. The defendant
            avers that he/she is pleading guilty because he/she knows that
            he/she is guilty.

                                      PENALTY

                  10.    The maximum penalty the Court could impose as
            to Count One of the Superseding Indictment is:

                        a.       Minimum Mandatory 10 years to life
            imprisonment;

                          b.     A fine not to exceed $4,000,000.00 dollars


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            (sic);

                          c.     A term of supervised release of 5 years,
            which would follow any term of imprisonment. If the defendant
            violates the conditions of supervised release, he/she could be
            imprisoned for the entire term of supervised release; and

                           d.     A mandatory special assessment of
            $100.00.

            However, based upon the Enhancement Information[] filed
            by the United States in the case, the defendant is subject to
            a minimum mandatory twenty years confinement to life
            imprisonment on Count One, a fine not to exceed
            $8,000,000.00[,] a term of supervised release of 8 years,
            which would follow any term of imprisonment and a
            mandatory special assessment of $100.00. If the defendant
            violates the conditions of supervised release, he/she could be
            imprisoned for the entire term of supervised release.

                                    SENTENCING

                    11.    The Court will impose the sentence in this case.
            The United States Sentencing Guidelines apply in an advisory
            manner to this case. The defendant has reviewed the application
            of the Guidelines with his/her attorney and understands that no
            one can predict with certainty . . . what the sentencing range will
            be in this case until after a pre-sentence investigation has been
            completed and the Court has ruled on the results of that
            investigation. The defendant understands that at sentencing, the
            Court may not necessarily sentence the defendant in accordance
            with the Guidelines. The defendant understands that he/she will
            not be allowed to withdraw his/her guilty plea if the applicable
            guideline range is higher than expected, if the Court departs
            from the applicable advisory guideline range, or if the Court
            imposes a sentence notwithstanding the Guidelines.

                     12.   The United States may provide all relevant

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            sentencing information to the Probation Office for purposes of
            the pre-sentence investigation. Relevant sentencing information
            includes, but is not limited to, all facts and circumstances of this
            case and information concerning the defendant’s conduct and
            background.

                   13.    The defendant understands that this Plea
            Agreement does not create any right to be sentenced in
            accordance with the Sentencing Guidelines, or below or within
            any particular guideline range, and fully understands that
            determination of the sentencing range or guideline level, or the
            actual sentence imposed, is solely the discretion of the Court.

                    14.    Both the defendant and the United States are free
            to allocute fully at the time of sentencing.

                                             .   .       .


                        UNITED STATES’ OBLIGATIONS

                   16.      The United States will not bring any additional
            charges against the defendant related to the facts underlying the
            Indictment and will move to dismiss Count(s) Two through
            Twelve of the superseding indictment at sentencing. This
            agreement is limited to the United States Attorney’s Office for
            the Southern District of Alabama and does not bind any other
            federal, state, or local prosecuting authorities.

                    17.   The United States will recommend to the Court
            that the defendant be sentenced at the low end of the applicable
            advisory sentencing guideline range as determined by the Court.

        APPLICATION OF U.S.S.G. § 5k1.1 AND/OR FED.R.CRIM.P. 35

                   18.   If the defendant agrees to cooperate with the
            United States, he/she agrees to the following terms and
            conditions:


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                                         .        .      .

                           g.      If the defendant provides full, complete,
            truthful and substantial cooperation to the United States, which
            results in substantial assistance to the United States in the
            investigation or prosecution of another criminal offense, a
            decision specifically reserved by the United States in the
            exercise of its sole discretion, then the United States agrees to
            move for a downward departure in accordance with Section
            5K1.1 of the United States Sentencing Guidelines or Rule 35 of
            the Federal Rules of Criminal Procedure, whichever the United
            States deems applicable. The United States specifically reserves
            the right to make the decision relating to the extent of any such
            departure request made under this agreement based upon its
            evaluation of the nature and extent of the defendant’s
            cooperation. The defendant understands that the United States
            will make no representation or promise with regard to the exact
            amount of reduction, if any, the United States might make in the
            event that it determines that the defendant has provided
            substantial assistance. The defendant understands that a mere
            interview with law enforcement authorities does not constitute
            substantial assistance for this purpose. The defendant also
            understands that should he/she provide untruthful information
            to the United States at any time, or should he/she fail to disclose
            material facts to the United States at any time, the United States
            will not make a motion for downward departure. If the
            defendant’s effort to cooperate with the United States does not
            amount to substantial assistance as determined solely by the
            United States, the United States agrees to recommend to the
            district court judge who sentences the defendant that the
            defendant receive a sentence at the low end of the applicable
            advisory guideline range.

                                         .        .      .


           LIMITED WAIVER OF RIGHT TO APPEAL SENTENCE


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                    19.     The defendant acknowledges that he/she is aware
             that 18 U.S.C. § 3742 affords a defendant the right to appeal the
             sentence imposed. In exchange for the recommendations made
             by the United States in this Plea Agreement, the defendant
             knowingly and voluntarily waives the right to appeal any
             sentence imposed in this case.

                    20.     With the limited exceptions noted below, the
             defendant also waives his/her right to challenge any sentence so
             imposed, or the manner in which it was determined, in any
             collateral attack, including but not limited to, a motion brought
             under 28 U.S.C. § 2255.

                    21.    The defendant reserves the right to contest in an
             appeal or post-conviction proceeding any of the following:

                          a.    Any punishment imposed in excess of the
             statutory maximum;

                          b.     Any punishment that constitutes an upward
             departure from the guideline range; or

                           c.       A claim of ineffective assistance of
             counsel.

                     22.    In addition, the defendant reserves the right to
             petition the Court for resentencing pursuant to 18 U.S.C. § 3582
             in the event of a future retroactive amendment to the Sentencing
             Guidelines which would affect the defendant’s sentence.

      (Id. at 1-5, 7-8 & 10 (emphasis in original)) Appearing before Carter’s

      signature line on page 12 of the agreement is this paragraph: “I have consulted

      with my counsel and fully understand all my rights with respect to the

      offenses(s) charged in the Indictment pending against me. I have read this



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      Plea Agreement and carefully reviewed every part of it with my attorney.

      I understand this agreement, and I voluntarily agree to it. I hereby stipulate that

      the Factual Resume,1 incorporated herein, is true and accurate in every respect,


      1
             The Factual Resume, which Carter also signed, reads as follows:

              The defendant, MAURICE MARCELL CARTER, admits the
      allegations of Count One of the Superseding Indictment.

                             ELEMENTS OF THE OFFENSE

             CARTER understands that in order to prove a violation of Title 21,
      United States Code, Section 846, as charged in Count One of the Superseding
      Indictment, the United States must prove:

             First:         That two or more persons in some way or manner, came to
                            a mutual understanding to try to accomplish a common and
                            unlawful plan, as charged in the indictment; and

             Second:        That the defendant knowingly and willfully became a
                            member of such conspiracy.

                                   OFFENSE CONDUCT

             Defendant, MAURICE MARCELL CARTER, admits in open court and
      under oath that the following statement is true and correct and constitutes
      evidence in this case.

              The defendant, MAURICE MARCELL CARTER, is a crack cocaine
      dealer in the Irvington/Bayou La Batre area of Mobile County. He employed the
      four co-defendants, JAMES LEE DOUGLAS, HARRY CLINTON CARTER,
      EUGENE CARTER and DANNY CARLO PROVORSE as runners for him. Each
      of these individuals has repeatedly delivered crack cocaine to customers for the
      defendant and received the cash payment for the crack cocaine from the
      customers and would bring the cash to the defendant. The defendant typically
      paid the runners with a small amount of crack cocaine for their services.

             All the Counts charged in the Superseding Indictment, which represent

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        and that had the matter proceeded to trial, the United States could have proven

        the same beyond a reasonable doubt.” (Id.)

                4.     On April 19, 2007, Carter entered a counseled guilty plea to

        Count One of the Superseding Indictment. (Doc. 174, Guilty Plea Transcript)

                       THE COURT:          . . . Mr. Carter, I understand you’re
                pleading guilty to count one of the superseding indictment; is
                that correct?

                       THE DEFENDANT:                Yes, ma’am.

                      THE COURT:           All right. Could you place the
                defendant under oath, please?

                       THE CLERK:           Yes, ma’am. Mr. Carter, raise your
                right hand as best you can.


        relevant conduct in this case, involved the defendant, either by himself or using a
        runner, sold crack cocaine to an undercover police officer with the exception of
        Counts Six and [] Eleven. The facts underlying Count[] Six involved the
        defendant being caught by law enforcement with crack cocaine in his possession
        that he intended to sell. The facts underlying Count Eleven involve the defendant
        providing crack cocaine to co-defendant DANNY CARLO PROVORSE to
        deliver to a customer for the defendant and PROVORSE being stopped by law
        enforcement before he could deliver the crack cocaine to the defendant’s
        customer.

                The defendant agrees that he possessed with the intent to distribute and
        distributed in excess of 50 grams of crack cocaine over the course of the
        conspiracy.

 (Doc. 39, at 1-2)




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            (The defendant was sworn)

                   THE DEFENDANT:                Yes, ma’am.

                  THE COURT:            . . . Do you understand that you’re
            now under oath and if you answer any of my questions falsely,
            those answers may later be used against you in a separate
            prosecution for perjury or for making a false statement?

                   THE DEFENDANT:                Yes, ma’am.

                   THE COURT:            All right. What is your full name?

                   THE DEFENDANT:                Maurice Marcel Carter.

                   THE COURT:            And how old are you?

                   THE DEFENDANT:                27.

                   THE COURT:            How far did you go in school?

                   THE DEFENDANT:                I graduated.

                   THE COURT:            And have you been treated recently
            for any mental illness or addiction to narcotic drugs of any kind?

                   THE DEFENDANT:                No, ma’am.

                   THE COURT:          Are you currently under the
            influence of any drug, medication, or alcoholic beverage?

                    THE DEFENDANT:               Yes, ma’am. Well, when I
            left the street I was doing drugs.

                  THE COURT:             When you were on the street you
            were doing drugs?

                   THE DEFENDANT:                Yes, ma’am.


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                   THE COURT:           What kind of drugs were you doing?

                   THE DEFENDANT:                Marijuana, codeine,
            promethazine syrup, and . . . that’s about it. And alcohol, I was
            drinking alcohol.

                  THE COURT:           . . . And when was the last time you
            had any of those substances?

                  THE DEFENDANT:                 . . . I’ve probably been locked
            up about two months, I guess.

                   THE COURT:           Since you’ve been arrested –

                   THE DEFENDANT:                Yes, ma’am.

                   THE COURT:          – you haven’t had any? All right.
            Have you received a copy of the superseding indictment, the
            written charges pending against you?

                   THE DEFENDANT:                Yes, ma’am.

                  THE COURT:           And have you fully discussed those
            charges and the case in general with Ms. Powell?

                   THE DEFENDANT:                Yes, ma’am.

                   THE COURT:           Do you understand the charges that
            are pending against you?

                   THE DEFENDANT:                Yes, ma’am.

                  THE COURT:            Are you fully satisfied with the
            counsel, representation, and advice given to you in this case by
            Ms. Powell?

                   THE DEFENDANT:                Yes, ma’am.



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                    THE COURT:           All right. Now, I have been provided
            with a plea agreement. It’s actually an amended plea agreement,
            is it not?

                   MS. POWELL:            Yes, ma’am.

                    THE COURT:           Since the first plea agreement was
            already filed with the Court, I think it’s probably best if you all
            call this an Amended Plea Agreement and actually put that on
            the front of it –

                   MS. POWELL:            Yes, ma’am.

                  THE COURT:             – so that there won’t be any
            confusion in the record as to which plea agreement is operative.

                   MS. POWELL:            Yes, ma’am.

                    THE COURT:            Mr. Carter, I want you to take a look
            at that and tell me on the record if that is your plea agreement
            and if that is your signature on both the plea agreement and the
            factual resume. Now, the factual resume is only on the first one;
            is that correct?

                   MR. MAY: Yes, Your Honor.

                  MS. POWELL:          This factual resume is correct. There
            was only one factual resume. There was not an amended factual
            resume.


                   THE COURT:             . . . [Y]ou need to take a look at the
            factual resume which is attached to the first plea agreement and
            tell me if that is your factual resume.

                   THE DEFENDANT:                Yes, ma’am.

                   THE COURT:             And that’s your signature on the


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            factual resume?

                   THE COURT:           Yes, ma’am.

                   THE COURT:         . . . Did you have the opportunity to
            read and discuss the amended plea agreement with Ms. Powell
            before you signed it?

                   THE DEFENDANT:              Yes, ma’am.

                   THE COURT:           And are there any agreements that
            you have with the United States Government in your case that
            are not written down in the amended plea agreement?

                  (A discussion was held off the record between the
            defendant and his attorney.)

                   MS. POWELL:          There’s not anything.

                   THE DEFENDANT:              No, no, ma’am.

                   THE COURT:           Do you understand the terms of your
            plea agreement?

                   THE DEFENDANT:              Yes, ma’am.

                   THE COURT:           Has anyone made any other or
            different promises or assurances to you of any kind in an effort
            to induce you to plead guilty in your case?

                   THE DEFENDANT:              No, ma’am.

                   THE COURT:            Do you understand that certain of
            the terms of the plea agreement are merely recommendations to
            the Court and that I can reject those recommendations without
            permitting you to withdraw your plea of guilty and impose a
            sentence that is more severe than you might anticipate? Do you
            understand that?


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                   THE DEFENDANT:               Yes, ma’am.

                   THE COURT:            Has anyone attempted in any way to
            force you to plead guilty in this case?

                   THE DEFENDANT:               No, ma’am.

                   THE COURT:           Are you pleading guilty of your own
            free will because you are guilty?

                   THE DEFENDANT:               Yes, ma’am.

                    THE COURT:            . . . [D]o you understand that the
            offense to which you’re pleading guilty is a felony offense and
            that if your plea is accepted, you will be adjudged guilty of that
            offense and that such adjudication may deprive you of valuable
            civil rights such as the right to vote, the right to hold public
            office, the right to serve on a jury, and the right to possess any
            kind of firearm, and because this is a drug case it could also
            entail the loss of certain federal benefits? Do you understand
            those possible consequences of your guilty plea?

                   THE DEFENDANT:               Yes, ma’am.

                   THE COURT:           . . . [T]he maximum penalty the
            Court could impose upon conviction of this offense, based upon
            the enhancement filed by the United States Attorney, is a
            minimum mandatory 20 years confinement up to life
            imprisonment on count one, a fine not to exceed $8 million, a
            term of supervised release of eight years which would follow
            any term of imprisonment, and [a] mandatory special assessment
            of $100. And if you violate[] the conditions of supervised
            release, you could be imprisoned for that entire term as well. Do
            you understand the possible consequences of this guilty plea?

                   THE DEFENDANT:               Yes, ma’am.

                   THE COURT:            Under the Sentencing Reform Act


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            of 1984, the United States Sentencing Commission has issued
            guidelines for judges to consider in determining the sentence in
            a criminal case. Have you and your attorney talked about how
            the sentencing guidelines might apply in your case?

                  (A discussion was held off the record between the
            defendant and attorney.)

                  MS. POWELL:           Judge, Mr. Knight had represented
            Mr. Carter at the probation conference.

                   THE COURT:           Right.

                   MS. POWELL:          Do you remember the probation
            conference that you had?

                   THE DEFENDANT:                Oh. Yes, ma’am.

                   THE COURT:          . . . And you and Mr. Knight
            discussed what the possible guidelines might be in your case?
            Or what the probation office thought the guidelines might be?

                   THE DEFENDANT:                Yes, ma’am.

                  THE COURT:          And you know that at that time the
            enhancement had not been filed?

                   THE DEFENDANT:                Yes, ma’am.

                   THE COURT:           And so the statutory penalties are
            different, which means the guidelines would be different as well.
            You understand that; right?

                   THE DEFENDANT:                Yes, ma’am.

                  THE COURT:           . . . And do you understand that the
            Court will not be able to determine the advisory guidelines
            sentencing range for your case until after a presentence report


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            has been completed and you and the government have had the
            opportunity to challenge the reported facts and the application
            of the guidelines recommended by the probation office and that
            the guideline range determined by the Court may be different
            from any estimate your attorney or the probation office or
            anybody else may have given you in this case?

                   THE DEFENDANT:              Yes, ma’am.

                   THE COURT:          You understand that? All right. Do
            you also understand that after your guideline range has been
            determined, the guidelines [themselves] further provide [] for
            departures either upwards or downwards from that range in
            certain circumstances?

                   THE DEFENDANT:              Yes, ma’am.

                   THE COURT:            And do you understand that,
            although the Court is required to consider the guidelines when
            determining the sentence, the guidelines are advisory and do not
            necessarily control the sentence imposed?

                   THE DEFENDANT:              Yes, ma’am.

                   THE COURT:            Do you also understand that under
            some circumstances you or the government may have the right
            to appeal any sentence that I impose? However, your plea
            agreement contains a limited waiver of your right to appeal the
            sentence and in your case you have retained the right to appeal
            only if punishment is imposed in excess of the statutory
            maximum, if punishment is imposed that constitutes an upward
            departure from the guideline range, or if you have a claim of
            ineffective assistance of counsel. Do you understand that you
            have waived all but those three appellate rights from the
            sentence itself contained in your plea agreement?

                   THE DEFENDANT:              Yes, ma’am.



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                    THE COURT:              Do you understand that you have a
            right to plead not guilty . . . to any offense charged against you
            and to persist in that plea and that you would then have the right
            to a trial by jury, that at that trial you would be presumed to be
            innocent and the government would have to prove your guilt
            beyond a reasonable doubt, and you would have the right to the
            assistance of counsel for your defense, the right to see and hear
            all of the witnesses and have them cross-examined in your
            defense, the right on your own part to decline to testify unless
            you voluntarily elected to do so in your own defense, and the
            right to the issuance of subpoenas to compel the attendance of
            witnesses to testify in your defense?

                   THE DEFENDANT:                 Yes, ma’am.

                   THE COURT:            And do you understand that if you
            went to trial and decided not to testify or to put on any evidence,
            those facts could not be used against you?

                   THE DEFENDANT:                 Yes, ma’am.

                    THE COURT:              And do you further understand that
            by entering a plea of guilty, if that plea is accepted by the Court,
            there will be no trial and you will have waived or given up your
            right to a trial as well as those other rights associated with a trial
            that I’ve just described?

                   THE DEFENDANT:                 Yes, ma’am.

                   THE COURT:           All right. Now, you’re pleading
            guilty to a charge of violating Title 21, United States Code,
            Section 846. And in order to convict you of that offense, the
            United States would have to prove that two or more persons in
            some way or manner came to a mutual understanding to try and
            accomplish a common and unlawful plan, as charged in the
            indictment – in this case possession with intent to distribute
            crack cocaine – and they would also have to prove that you
            knowingly and willfully became a member of such conspiracy,


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              knowing the object of that conspiracy.

                       THE DEFENDANT:              Yes, ma’am.

                    THE COURT:         Do you understand what the
              government would have to prove in order to convict you?

                       THE DEFENDANT:              Yes, ma’am.

                     THE COURT:           All right. Now, I asked you earlier
              if you had signed the factual resume and you said you had, and
              I want to make sure that you understand that by signing the
              factual resume you are agreeing that the government could
              prove the facts set forth in the offense conduct in order to
              support your conviction. Do you agree to that?

                       THE DEFENDANT:              Yes, ma’am.

                     THE COURT:            . . . I will ask you now how do you
              plead to the charge, guilty or not guilty?

                       THE DEFENDANT:              Guilty.

                     THE COURT:            . . . It is the finding of the Court in
              the case of United States versus Maurice Marcel Carter that the
              defendant is fully competent and capable of entering an
              informed plea, that the defendant is aware of the nature of the
              charges and the consequences of the plea and that the plea of
              guilty is a knowing and voluntary plea supported by an
              independent basis in fact containing each of the essential
              elements of the offense. The plea is therefore accepted and the
              defendant is now adjudged guilty of that offense.

       (Id. at 2-12)

              5.       The Presentence Investigation Report was initially prepared by

       the Probation Office on June 12, 2007; it was revised on January 10, 2008 and


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       re-revised on May 15, 2008. (See Doc. 141, at 1) Based upon the statutory

       offense level of 34 and all other factors contained in the report, including a

       criminal history category of III, United States Probation Officer Kevin M.

       Nelson recommended that Carter receive a 240-month term of imprisonment,

       a 10-year term of supervised release following his release from prison, and a

       special   assessment    of   $100.00.    (Doc.   141,    Revised   Sentencing

       Recommendation, at 1-3) The defendant interposed the following objections

       to the Presentence Report:

              PART A. THE OFFENSE

              Chapter Three Adjustments

              39.    Adjustment for Role in the Offense: The Defendant
              objects to the four-level enhancement for being an organizer or
              leader of criminal activity that involved five or more
              participants.

              Chapter Four Enhancements

              43.    Adjustment for Acceptance of Responsibility: The
              Defendant has accepted responsibility for his criminal conduct.
              Although the Defendant was arrested while on pretrial
              supervision, the Domestic Violence 3rd Degree and Unlawful
              Imprisonment cases were dismissed by the Mobile County
              District Court Judge on June 20, 2007. The Defendant is entitled
              to a reduction of two levels. Further, the Defendant assisted
              authorities in the prosecution of the offense by timely notifying
              authorities of his intent to enter a guilty plea. The Defendant
              qualifies for an additional one-level decrease. Therefore, the
              Defendant is entitled to a reduction of three levels pursuant to


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                U.S.S.G. Section 3E1.1(a).

                PART D. SENTENCING OPTIONS

                Custody

                86.    Guideline Provisions:       Based on a total offense level
                of 29 and a criminal history category of III, the guideline range
                of imprisonment is 108 to 135 months.

        (Doc. 161, 1-2) On May 19, 2008, the Government moved for downward

        departure pursuant to U.S.S.G. Section 5K1.1. (Doc. 162) “[T]he United States

        recommends a downward departure to reduce the defendant[’s] sentence to 120

        [] months.” (Id.)

                6.     During the sentencing hearing on May 20, 2008, the parties

        agreed that the appropriate offense level was 312 and that Carter had a criminal

        history category of III. (See Doc. 175, Sentencing Transcript) Thereafter, the

        following occurred:

                       THE COURT: . . . Well, as I’ve said, the statutory
                minimum with the enhancement moots out the guideline level,
                because the guideline level would be substantially below that.
                But the sentencing guideline range is the statutory minimum of
                240 months. Now let me hear from you on your substantial
                assistance motion.

                     MR. MAY: . . . The United States would recommend a
                downward departure of 50 percent from the 20 years or 240


        2
               Carter was given credit for acceptance of responsibility and the defendant
 withdrew his objection to being a leader or organizer. (Doc. 175, Sentencing Transcript, at 2-4)

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            mandatory minimum to 120 months. And the basis for our
            motion is this defendant’s cooperation where he cooperated
            against all of the codefendants in his case, many of whom were
            actually relatives of his. So it created quite a bit of angst in the
            family and, I think, an uncomfortable position for him. I believe
            several of those individuals were related to him in some
            manner[.] . . . [H]e also provided information about other
            individuals in the Fowl River area that weren’t indicted in this
            case but were part of the same investigation. There was a
            Cleveland Green, a Ruben Green, and a Ricky Bowie, who were
            all part of the overall investigation in the Fowl River area of
            south Mobile County, provided helpful information against
            those individuals, stood ready to testify. They all pled. Actually,
            Mr. Bowie pled very late and he was listed as a witness for the
            government at that hearing. And then even after he pled, he was
            going to dispute the drug quantity at sentencing. We brought
            Mr. Carter down from Perry County to testify at the sentencing
            and ultimately Ricky Bowie decided . . . not to contest the drug
            amount at his sentencing. . . . And so we believe he has
            substantially assisted and helped the government. [] [H]e was
            actually planning . . . to work and do something proactive
            against his supplier, who was out of the district . . . [but] his
            conditions were revoked. But I just mention that to show he was
            willing to do that, to work up the chain. And so we believe he’s
            earned cooperation.


                  THE COURT:              Do you have anything to add to that,
            Ms. Powell?

                    MS. POWELL:           Only, Judge, that there are some
            ongoing investigations that he’s still willing to cooperate in. In
            fact, he’s willing to be debriefed again today on some
            individuals – one individual in particular that’s been indicted in
            this district, that he had previously been debriefed about. . . .
            And that along with a couple of other cases – one out of
            Mississippi that he has some information on, and there’s an FBI
            agent who he’s been in contact with there . . . . So there’s still


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            some things in the works that he’s still willing to cooperate with.

                                          .        .     .

                   THE COURT:           . . . Mr. Carter, do you have anything
            that you would like to say?

                    THE DEFENDANT:           I just want to tell the
            government I’m sorry, to my parents, my mother, and the kids
            that I adopted, you know what I’m saying . . . .

                                          .        .     .

                   THE COURT:             . . . Well, Mr. Carter, I’ve considered
            the sentencing guidelines and I’ve considered the statutory
            purposes of sentencing in your case. I find that the motion for
            downward departure is due to be granted and I do grant it. And
            I intend to follow the recommendation of the United States
            Attorney in this matter. I find that that provides for a reasonable
            sentence, given those statutory purposes of sentencing, and it
            takes into account your substantial assistance in the
            investigation and prosecution of others.

                   I’m now going to state the sentence I intend to impose,
            and after I’ve stated it I will allow counsel to make legal
            objections before imposition of the sentence.

                   Pursuant to the Sentencing Reform Act of 1984, it is the
            judgment of the Court that the defendant, Maurice Marcel
            Carter, is hereby committed to the custody of the United States
            Bureau of Prisons to be imprisoned for a term of 120 months.
            The Court recommends that he be imprisoned at an institution
            where a residential comprehensive substance abuse treatment
            program is available.

                   Upon release from imprisonment, the defendant shall be
            placed on supervised release for a term of 10 years as to count
            one.


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                    Within 72 hours of release from custody of the Bureau of
            Prisons, the defendant shall report in person to the probation
            office in the district to which he is released. While on supervised
            release the defendant shall not commit any federal, state, or
            local crimes, he shall be prohibited from possessing a firearm or
            other dangerous device and shall not possess a controlled
            substance.

                   In addition, the defendant shall comply with the standard
            conditions of supervised release as recommended by the United
            States Sentencing Commission and on record with this Court.
            The Court also orders that the defendant also comply with the
            following special condition of supervised release: He shall
            participate in a program of testing and treatment for drug and/or
            alcohol abuse as directed by the probation office.

                    The Court finds that the defendant does not have the
            ability to pay a fine and therefore a fine is not imposed.

                   . . . I find the advisory guideline range with the motion
            for downward departure and the recommended sentence of the
            United States Attorney as appropriate to the facts and
            circumstances of this case and provides for a reasonable
            sentence, given the statutory purposes of sentencing.

                    The sentence imposed addresses the seriousness of the
            offense and the sentencing objectives of punishment, deterrence,
            and incapacitation while taking into account the substantial
            assistance in the prosecution and investigation of others.

                   It is ordered that the defendant pay a special assessment
            in the amount of $100 on count one, which shall be due
            immediately.

                   Now, having stated the sentence I intend to impose, are
            there any objections to it?

                   MR. MAY: Not from the United States, Your Honor.


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                       MS. POWELL:           Not from the defendant, Your
                 Honor.

                       THE COURT:             . . . I hereby impose the sentence as
                 previously stated.

                         Mr. Carter, you can appeal your conviction if you believe
                 that your guilty plea was somehow unlawful or involuntary of
                 if there is some fundamental defect in the proceeding that was
                 not waived by your guilty plea.

                          You also have a statutory right to appeal the sentence
                 itself in certain circumstances. However, you entered into a plea
                 agreement which waives certain of your rights to appeal the
                 sentence itself. Such waivers are generally enforceable. But if
                 you believe the waiver to be unenforceable, you can test that
                 theory in the appellate court. If you decide to appeal, you must
                 do so within 10 days of entry of judgment in this case and Ms.
                 Powell can file that notice for you.

        (Id. at 4-11; see also Doc. 163 (judgment in a criminal case entered on June 5,

        2008))

                 7.     On July 1, 2008, Carter filed the present collateral attack on his

        conviction and sentence pursuant to 28 U.S.C. § 2255. (Doc. 168) Therein,

        petitioner raises the following grounds which he claims entitle him to relief:

        (1) the calculation of his guideline range (i.e., paragraphs 48 and 49) was

        incorrect and he was given more points and placed in a higher mandatory-

        minimum range;3 and (2) ineffective assistance of counsel due to trial


        3
                Petitioner makes the following argument: “Paragraph[s] 48 & 49 should have
 been treated as related cases because they were consolidated for sentencing. Th[ey] should have

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 been treated as a single conviction. If these prior drug offenses would have been treated as such
 defendant would have received only a total of 2 points for 48 and 49 and if treated as one
 conviction defendant would be enhanced to 10 yrs to life and not 20 yrs to life. Defendant would
 have had a criminal history category II instead of category III.” (Doc. 1, at 3)

        The Presentence Investigation Report reads, in relevant part, as follows:

        PART B.           THE DEFENDANT’S CRIMINAL HISTORY

                                       .      .        .

                Date of        Conviction/             Date Sentence                Guidel
                                                                                    ine/
                Arrest         Court                   Imposed/Disposition Points

        48.     5/10/2001      Possession of           1/3/02: Defendant      4A1.1(b)
                (age 21)       Cocaine,                sentenced to 6 months
                               Mobile County           confinement of a 10-
                               Circuit Court,          sentence (split), 1 month
                               #CC 01-2984             and 3 days credited, 5
                                                       years probation, and court
                                                       costs. 8/7/02: Delinquency
                                                       report issued by Probation
                                                       Officer John Brantley.
                                                       Probation revocation filed.
                                                       9/13/02: Defendant
                                                       sentenced to 6 months
                                                       confinement of a 10-year

                                                       sentence, run concurrent
                                                       with CC02-614, given
                                                       credit for 1 month and 12
                                                       days. 10/25/02: Probation
                                                       reinstated and defendant
                                                       released. 5/30/03: Court
                                                       costs paid in full.
                                                       5/18/04: Defendant’s
                                                       probation terminated
                                                       early because court
                                                       costs of $300 paid. 2

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                        The defendant was represented by attorney Tommy Patterson.
                        The defendant was arrested by the Mobile County Sheriff’s Office
                        on January 10, 2001, and found to be in possession of crack
                        cocaine at 6232 Spanish Trail Drive, Mobile, Alabama.

        49.    12/1/2001       Possession of          4/5/02: Defendant      4A1.1(b)
               (age 21)        Cocaine, Mobile        sentenced to 6
                               County Circuit         months confinement
                               Court, Mobile,         of a 10-year sentence
                               AL, #CC 02-614         and 5 years probation.
                                                      9/13/02: Probation
                                                      revoked due to
                                                      delinquency report filed
                                                      on August 9, 2002.
                                                      10/25/02: Defendant’s
                                                      sentence amended to time
                                                      served, given credit for
                                                      1 month, and 12 days.
                                                      Defendant’s 6-month
                                                      sentence to run
                                                      concurrent with CC01-2984.
                                                      Defendant placed back on
                                                      probation. Defendant
                                                      ordered to pay $300
                                                      court costs by January 31, 2006.
                                                      5/18/04: Defendant’s
                                                      probation was terminated
                                                      early because court
                                                      costs of $300 paid. 2

                        The defendant was represented by attorney Tommy Patterson.
                        On November 9, 2001, the defendant was found to be in
        possession
                        of a controlled substance (cocaine) and $1,141 in U.S.
                        currency while at the Southern Living Motel, Highway 90 West,
                        Mobile, Alabama. The defendant ran into the woods when police
                        tried to arrest him. The defendant was ordered to forfeit $1,141.

 (Doc. 141, at 15-17)


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       counsel’s failure to raise the foregoing argument during his sentencing

       proceeding. (Doc. 1, at 3, 4 & 5)

              8.     The United States filed a motion to dismiss on September 5,

       2008. (Doc. 177) Therein, the government argues that each ground asserted by

       Carter is foreclosed by his knowing and voluntary sentence appeal waiver. (Id.

       at 3-6) Carter’s response time to the government’s motion was extended to

       October 23, 2008. (Doc. 185) To date, this Court has not received a response

       from the petitioner.

                                CONCLUSIONS OF LAW

              1.     28 U.S.C. § 2255 reads, in relevant part, as follows: “A prisoner

       in custody under sentence of a court established by Act of Congress claiming

       the right to be released upon the ground that the sentence was imposed in

       violation of the Constitution or laws of the United States, or that the court was

       without jurisdiction to impose such sentence, or that the sentence was in excess

       of the maximum authorized by law, or is otherwise subject to collateral attack,

       may move the court which imposed the sentence to vacate, set aside or correct

       the sentence.”

              2.     In this circuit, “[a]n appeal waiver is valid if a defendant enters




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       into it knowingly and voluntarily.” United States v. Bascomb, 451 F.3d 1292,

       1294 (11th Cir. 2006) (citation omitted); see also United States v. Bushert, 997

       F.2d 1343, 1350 (11th Cir. 1993) (“We hold, therefore, that in most

       circumstances a defendant’s knowing and voluntary waiver of the right to

       appeal his sentence will be enforced by this circuit.”), cert. denied, 513 U.S.

       1051, 115 S.Ct. 652, 130 L.Ed.2d 556 (1994). In this case, Carter pleaded

       guilty during a change of plea proceeding after being informed of the limited

       appeal waiver and acknowledging his understanding of that limited waiver.

       Specifically, Carter informed the Court that he understood, as set forth in the

       plea agreement bearing his signature, that he had waived all rights to appeal

       his sentence except that he could appeal if the punishment imposed was in

       excess of the statutory maximum, if the punishment imposed constituted an

       upward departure from the guideline range, or if he had a claim of ineffective

       assistance of counsel. (Doc. 174, at 9-10) Based upon the foregoing, the

       undersigned holds that Carter’s knowing and voluntary limited waiver of his

       right to appeal his sentence in this case should be enforced. Because it is clear

       that Carter’s punishment was not in excess of the statutory maximum nor was

       his sentence an upward departure from the guideline range, his frivolous

       contention that he was improperly placed in a higher guideline range for



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        sentencing purposes based on his prior criminal history4 cannot be challenged

        in this collateral petition. Cf. Bushert, supra, 997 F.2d at 1350 n.17 (indicating

        that even broad waivers, which include a waiver of collateral appeal of the

        sentence, can be judicially enforced so long as they are knowing and

        voluntary).

                3.      Carter additionally contends that constitutionally ineffective

        assistance of trial counsel entitles him to the relief afforded by 28 U.S.C. §



        4
                 Carter’s argument regarding the calculation of his guideline range is frivolous for
 numerous reasons. First, as explained by this Court during his sentencing, “the statutory
 minimum with the enhancement moots out the guideline level.” (Doc. 175, at 4) In other words,
 because the minimum mandatory with enhancement in Carter’s case was twenty (20) years (see
 Doc. 40, at 3), the guideline ranges had no impact on sentencing. Therefore, any argument by
 Carter or his attorney that his guideline range was miscalculated would have had no impact on
 his sentence. The only factor which could and did have an impact on Carter’s sentence was the
 government’s motion for downward departure. The government’s motion in this regard is the
 only reason petitioner’s sentence went down to ten (10) years, as opposed to him being
 sentenced to the mandatory minimum of twenty (20) years.

         The undersigned would, as well, additionally note that even if the guideline levels
 remained in play, Carter’s argument would still be frivolous. Petitioner’s basic contention is that
 two prior drug convictions, set forth in paragraphs 48 and 49 of the Presentence Investigation
 Report, should have been treated (and counted for point purposes) as a single conviction since
 they were consolidated for sentencing “and if treated as one conviction defendant would be
 enhanced to 10 yrs to life and not 20 yrs to life.” (Doc. 1, at 3) Carter cites to absolutely no
 authority which supports his contention in this regard. Moreover, as reflected in the report, these
 drug offenses were separate, occurring on different days in 2001 at different locations. Petitioner
 plead guilty to both charges and simply because he was sentenced, during probation revocation
 proceedings in 2002, to concurrent terms establishes nothing other than that petitioner was
 fortunate to get concurrent sentences following revocation proceedings. Therefore, Carter’s
 criminal history points were not improperly calculated and any attempt by petitioner or his
 attorney to raise such a claim during sentencing would have been properly rejected.

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        22555 because counsel failed to raise the foregoing miscalculation argument

        during his sentencing proceeding.6 In Williams v. United States, 396 F.3d

        5
                 Once a criminal defendant enters a guilty plea, he waives all non-jurisdictional
 challenges to the conviction’s constitutionality and only an attack on the voluntary and knowing
 nature of the plea can be raised. See McMann v. Richardson, 397 U.S. 759, 772, 90 S.Ct. 1441,
 1449, 25 L.Ed.2d 763 (1970). Stated differently, “a voluntary and intelligent plea made by an
 accused person, who has been advised by competent counsel, may not be collaterally attacked.”
 Mabry v. Johnson, 467 U.S. 504, 508, 104 S.Ct. 2543, 2546-2547, 81 L.Ed.2d 437 (1984)
 (emphasis supplied). Therefore, when a § 2255 motion is filed collaterally challenging
 convictions obtained pursuant to guilty pleas, “the inquiry is ordinarily confined to whether the
 underlying plea was both counseled and voluntary.” United States v. Broce, 488 U.S. 563, 569,
 109 S.Ct. 757, 762, 102 L.Ed.2d 927 (1989).

        6
                In order to establish a claim of ineffective assistance of counsel, a petitioner is
 required to show (1) that his attorney’s representation fell below “an objective standard of
 reasonableness” and (2) that a reasonable probability exists that but for counsel’s unprofessional
 conduct, the result of the proceeding would have been different. Strickland v. Washington, 466
 U.S.668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984). The Strickland v. Washington standard for
 evaluating claims of ineffective assistance of counsel was held applicable to guilty pleas in Hill
 v. Lockhart, 474 U.S. 52, 58, 106 S.Ct. 366, 370, 88 L.Ed.2d 203 (1985).

        To succeed on such a claim, “the defendant must show that counsel’s
        performance was deficient. This requires showing that counsel made errors so
        serious that counsel was not functioning as the ‘counsel’ guaranteed the defendant
        by the Sixth Amendment.” Strickland v. Washington, 466 U.S. 668, 687, 104
        S.Ct. 2052, 2064, 80 L.Ed.2d 674 (1984). In addition, the defendant must
        establish that “counsel’s constitutionally ineffective performance affected the
        outcome of the plea process.” Hill, 474 U.S. at 59, 106 S.Ct. at 370. In other
        words, . . . [a petitioner] “must show that there is a reasonable probability that, but
        for counsel’s errors, he would . . . have pleaded [not] guilty and would . . . have
        insisted on going to trial.” Hill, 474 U.S. at 59, 106 S.Ct. at 370.

 Coulter v. Herring, 60 F.3d 1499, 1504 (11th Cir. 1995) (footnote, brackets and ellipses added),
 cert. denied sub nom. Coulter v. Jones, 516 U.S. 1122, 116 S.Ct. 934, 133 L.Ed.2d 860 (1996).

         When applying the Strickland standard, it is clear that courts “are free to dispose of
 ineffectiveness claims on either of its two grounds.” Oats v. Singletary, 141 F.3d 1018, 1023
 (11th Cir. 1998) (citation omitted), cert. denied sub nom. Oates v. Moore, 527 U.S. 1008, 119

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        1340, 1342 (2005), cert. denied, 546 U.S. 902, 126 S.Ct. 246, 163 L.Ed.2d 226

        (2005), the Eleventh Circuit recognized that “a valid sentence-appeal waiver,

        entered into voluntarily and knowingly, pursuant to a plea agreement,

        precludes the defendant from attempting to attack, in a collateral proceeding,

        the sentence through a claim of ineffective assistance of counsel during

        sentencing.” In other words, a petitioner is not allowed “to circumvent the

        terms of the sentence-appeal waiver simply by recasting a challenge to his

        sentence as a claim of ineffective assistance[.]” Id. Because this is exactly

        what Carter is attempting to do in this case, his claim of ineffective assistance

        of counsel fails under Williams.

                4.      In consideration of the foregoing, the Magistrate Judge



 S.Ct. 2347, 144 L.Ed.2d 243 (1999); see also Butcher v. United States, 368 F.3d 1290, 1293
 (11th Cir. 2004) (“[O]nce a court decides that one of the requisite showings has not been made it
 need not decide whether the other one has been.”).

         As previously explained, see fn. 4, supra, Carter’s attorney did not render ineffective
 assistance by failing to raise the frivolous guideline miscalculation argument set forth in
 petitioner’s § 2255 petition. First, the guideline ranges were rendered moot in this case as the
 Court explained. Moreover, even if those ranges were not rendered moot, petitioner has not
 established that defense counsel had a solid legal basis upon which to argue that his two prior
 drug convictions from 2002 should have been viewed as one conviction simply because he
 became the recipient of concurrent sentences during probation revocation proceedings.
 Accordingly, petitioner’s attorney was not constitutionally deficient during the sentencing
 proceeding in this Court.




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        recommends that the Court deny7 Carter’s motion to vacate, set aside or correct

        his sentence under 28 U.S.C. § 2255.

                                         CONCLUSION

                The Magistrate Judge is of the opinion that petitioner’s rights were not

        violated in this cause and that his request to vacate, set aside or correct his

        sentence should be DENIED.

                The instructions which follow the undersigned’s signature contain

        important information regarding objections to the report and recommendation

        of the Magistrate Judge.

                DONE this the 31st day of October, 2008.

                                        s/WILLIAM E. CASSADY
                                       UNITED STATES MAGISTRATE JUDGE




        7
                 The undersigned has effectively addressed the merits of petitioner’s claims, by
 footnote, only because this Court, during the plea colloquy, did not specifically discuss with
 Carter that his limited waiver of his right to appeal included, as set forth in the amended plea
 agreement, a waiver of his right to challenge the sentence imposed, or the manner in which it
 was determined, in a collateral attack like the present one. (Compare Doc. 40, at 10 with Doc.
 174, at 9)

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         MAGISTRATE JUDGE'S EXPLANATION OF PROCEDURAL RIGHTS AND
             RESPONSIBILITIES FOLLOWING RECOMMENDATION, AND
                 FINDINGS CONCERNING NEED FOR TRANSCRIPT

       l.      Objection. Any party who objects to this recommendation or anything in it must,
       within ten days of the date of service of this document, file specific written objections with
       the Clerk of this court. Failure to do so will bar a de novo determination by the district
       judge of anything in the recommendation and will bar an attack, on appeal, of the factual
       findings of the Magistrate Judge. See 28 U.S.C. § 636(b)(1)(C); Lewis v. Smith, 855 F.2d
       736, 738 (11th Cir. 1988); Nettles v. Wainwright, 677 F.2d 404 (5th Cir. Unit B, 1982)(en
       banc). The procedure for challenging the findings and recommendations of the Magistrate
       Judge is set out in more detail in SD ALA LR 72.4 (June 1, 1997), which provides that:

               A party may object to a recommendation entered by a magistrate judge in
               a dispositive matter, that is, a matter excepted by 28 U.S.C. § 636(b)(1)(A),
               by filing a ‘Statement of Objection to Magistrate Judge’s Recommendation’
               within ten days after being served with a copy of the recommendation,
               unless a different time is established by order. The statement of objection
               shall specify those portions of the recommendation to which objection is
               made and the basis for the objection. The objecting party shall submit to
               the district judge, at the time of filing the objection, a brief setting forth the
               party’s arguments that the magistrate judge’s recommendation should be
               reviewed de novo and a different disposition made. It is insufficient to
               submit only a copy of the original brief submitted to the magistrate judge,
               although a copy of the original brief may be submitted or referred to and
               incorporated into the brief in support of the objection. Failure to submit a
               brief in support of the objection may be deemed an abandonment of the
               objection.

               A magistrate judge's recommendation cannot be appealed to a Court of Appeals;
       only the district judge's order or judgment can be appealed.

       2.       Transcript (applicable Where Proceedings Tape Recorded). Pursuant to 28 U.S.C.
       § 1915 and FED.R.CIV.P. 72(b), the Magistrate Judge finds that the tapes and original
       records in this case are adequate for purposes of review. Any party planning to object to this
       recommendation, but unable to pay the fee for a transcript, is advised that a judicial
       determination that transcription is necessary is required before the United States will pay the
       cost of the transcript.



                                                   s/WILLIAM E. CASSADY
                                                   UNITED STATES MAGISTRATE JUDGE




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